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                                           Scott Traudt
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24 November 2024

Clerk of the Court
US District Court
11 Elmwood A venue, Room 200
Burlington, VT 05401

Re: Scott Traudt v. Ari Rubenstein et. al, Case No. 2:24-cv-782

Dear Clerk of the Court:

I am the Plaintiff in the above-referenced matter. 1 write to provide the court with supplemental
authority relevant to the current Motion/or a Stay in Favor <fArbitration filed by Defendant
Charles Schwab and Co. Inc. on or about 14 August 2024and also as it has bearing on Plaintiffs
Motion for Declaratory Judgment and Injunctive Relief of 8 November 2024.

On 22 November 2024, the DC Circuit Court of Appeals ruled in Alpine Securities Corp. v.
Financial Industry Regulatory Authority and United States o/America (Case No. l :23-cv-01506,
https://media.cadc.uscourts.gov/opinions/docs/2024/l l/23-5129-2086156.pdf)

Summary

The court found that Alpine demonstrated a likelihood of success on its private nonde1egation
claim, as FINRA's expulsion orders take effect immediately without prior SEC review,
effectively barring Alpine from the securities industry. The court held that this lack of
governmental oversight likely vio1ates the private nondelegation doctrine. 'Ibe court also found
that Alpine faced irreparable harm if expelled before SEC review, as it would be forced out of
business.

The court reversed the district court's denial of a preliminary injunction, instructing it to enjoin
FIN RA from expelling Alpine until the SEC reviews any expulsion order or the time for Alpine
to seek SEC review lapses. However, the court did not grant a preliminary injunction on Alpine's
Appointments Clause claims, as Alpine did not demonstrate irreparable harm from participating
in FINRA's expedited proceeding itself. The case was remanded for further proceedings
consistent with the appellate court's findings.

Applicability to Traudt

The key event in Traudt was the U3 trading halt issued by FINRA to halt trading in MMTLP
stock on 9 December 2022. Traudt assumes that the court is familiar with the fact pattern in




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Traudt. This U3 halt was never validated by the Securities Exchange Commission ("SEC').
Mirroring this new ruling in Alpine, this dearly ran afoul of the private non-delegation doctrine:

For a delegation of governmental authority to a private entity to be constitutional, the private
entity must act only "as an aid" to an accountable government agency that retains the ultimate
authority to "approve[], disapprove[], or modif[y]" the private entity's actions and decisions on
delegated matters. Sunshine Anthracite Coal Co. v. Adkins, 310 U.S. 381. 388,399, 60 S.Ct. 907,
84 L.Ed. 1263 (1940); see Association of American R.R.s v. Department ofTransp .. 721 F.3d
666,671 (D.C. Cir. 2013) (Amtrak I), vacated on other grounds, 575 U.S. 43, 135 S.Ct. 1225,
191 L.Ed.2d 153 (2015); see also Association ofAmerican R.R. s v. Department of Transp., 896
FJd 539,546 (D.C. Cir. 2018) (private delegation constitutional where government agency
"exercise[s] authority and surveillance" over the private entity) (quotation marks omitted);
Oklahoma v. United States, 62 F.4th 221, 228-229 (6th Cir. 2023) (similar); National
Horsemen~,; Benevolent & Protective Ass'n v. Black, 53 F.4th 869,880 (5th Cir. 2022) (similar);
Walmsley v. Federal Trade Comm'n, 117 F.4th 1032, 1039-1040 (8th Cir. 2024) (Where a
statute gives the government agency ·'broad power to subordinate the [private entity's]
enforcement activities, the statute is not unconstitutional in all of its applications.''). Alpine § 17.

The majority opinion in Alpine might as well been ascribing to the unfortunate victims of the U3
halt ordered by FINRA when they opined in Alpine that:

The remaining preliminary-injunction factors-irreparable hann, the balance of equities, and the
public interest-also support Alpine.

Alpine faces irreparable harm because it faces a grave risk of being forced out of business before
full SEC review, rendering any opportunity for later review at best inadequate and, at worst,
moot. A business's "'destruction in its current form" commonly qualifies as irreparable harm.
Washington lvfetro. Area Transit Comm'n v. Holiday Tours, Inc., 559 F.2d 841,843 (D.C. Cir.
1977); see In re NTE Conn., LLC, 26 F.4th 980,990 (D.C. Cir. 2022) ("[F]inancial injury can be
irreparable where no adequate compensatory or other corrective relief will be available at a later
date[.]") (formatting modified); Wisconsin Gas Co. v. FERC, 758 F.2d 669,674 (D.C. Cir. 1985)
("'Recoverable monetary loss may constitute irreparable harm" if"the loss threatens the very
existence of the movant's business."). Alpine§ 24.

Applied to Traudt's ,Motion for Declaratory Judgment and /'?_junctive Reliej; all of the factors
identified in Alpine are evident: irreparable harm in the 100% loss of all investments made into
MMTLP (ergo "destruction in its current form"); there is no ability save for injunctive relief (a
restart in trading in MMTLP for example) to make Traudt whole; the public interest in a fair
market not subject to an arbitrary and capricious decision made by an '·illegitimate proceeding,
led by an illegitimate decisionmaker" 1 (quoting Judge Walker's concurrence and dissent in
Alpine § 41.)

The question eventually to be put before this Court is whether or not a Writ of Mandamus finds
defense within Alpine to get MMTLP its last 2 days of FINRA authorized trading back.


1   Axon Enterprise, Inc. v. FTC, 598 U.S. 175, 143 S. Ct. 890, 903, 215 L.Ed.2d 151 (2023).

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Referencing Traudf s Motion for Declaratory Judgment at #5 within Prayer for Relief, this Court
could give full effect to the Alpine decision in this Court by forcing 2 days of "pay to close
trading" that would allow - finally - for short positions to be closed and for the MMTLP
shareholders have a chance to be made whole.

Respectfully submitted,




Prose
191 Kibling Hill Rd.
Strafford, VT 05072

Cc: All counsel of record via email.




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